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lN THE uNlTED sTATEs DlsTFtlcT couRT am av_,. __......o.a
FoFr THE WEsTERN olsTFtlcT oF TENNEssEE
WESTERN DlvrsloN GSJUL -| AH 7= 55
` US Dl§THCTCOlBT
uNlTED sTATEs oF AMEech, lel°lk . .
W OFTN, MEM’HS
Ptaintitt,
vs.
cR. No. 03-20327-3
ToNv sEA,
Defendant.

 

OFlDER ON CONT|NUANCE AND SPEC|FY|NG PEF{|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time, counsel for the
defendant requested a continuance of the July 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

report date of Monday, August 29, 2005l at 9:30 a.m., in Courtroom 1 11th Floor of the

 

Federal Bullding, Memphis, TN.

The period from Ju|y 15, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(B)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED this ,§ §\day Of J e, 2005.

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HCFP On 9-\

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
ease 2:03-CR-20327 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

